67 F.3d 297
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Phillip Charles BROWN, Defendant-Appellant.
    No. 94-7276.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 25, 1995.Decided Sept. 8, 1995.
    
      Phillip Charles Brown, Appellant Pro Se.  Christine Manuelian, OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, MD, for Appellee.
      Before HALL, MICHAEL, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge, and find no reversible error.*  Accordingly, we affirm on the reasoning of the district court.  United States v. Brown, Nos.  CR-91-250-HM;  CA-94-795-S (D.Md. Sept. 13, 1994).  We deny Appellant's motion for appointment of counsel because the case presents no complex issues.  We deny as moot Appellant's motions to expedite.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         As Appellant makes no proffer of the substance of his prospective witnesses' testimony, we find that his ineffective counsel claim is meritless.  Bassette v. Thompson, 915 F.2d 932, 940-41 (4th Cir.1990), cert. denied, 499 U.S. 982 (1991)
      
    
    